8:02-cr-00238-JFB-TDT         Doc # 305     Filed: 07/01/05   Page 1 of 1 - Page ID # 2513




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )                  8:02CR238
                                             )
                v.                           )
                                             )         MEMORANDUM AND ORDER
DONALD H. ASAY, TERRI J.                     )
SAMOWITZ, GREGORY W. ENGER,                  )
and DONALD A. HEIDEN,                        )
                                             )
                      Defendants.            )
                                             )


        Before the court is the report and recommendation of United States Magistrate

Judge Thomas D. Thalken, Filing No. 296. No objection has been filed to the report and

recommendation. Pursuant to NECrimR 57.3 and 28 U.S.C. § 636(b)(1)(C), the court has

conducted a de novo review of the record and adopts the report and recommendation in

its entirety.

        THEREFORE, IT IS HEREBY ORDERED that:

        1.      The report and recommendation, Filing No. 296, is adopted in its entirety.

        2.      The defendants' Motion to Dismiss Indictment, Filing No. 259, is denied.

        DATED this 1st day of July, 2005.

                                            BY THE COURT:



                                            s/ Joseph F. Bataillon
                                            United States District Judge
